Case 2:04-cr-20191-.]Pl\/| Document 60 Filed 07/07/05 Page 1 ofé PagelD 86

UN|TED STATES DISTR|CT COURT uaw ,
WESTERN DISTR|CT OF TENNESSEE m ay -~~-_.. D-O.
MEMPH|S DIV|S|ON
OSJUL -7 PH 32 5|
UN|TED STATES OF AMER|CA
THOMASM. GOU.D
-v- 2:04cR20191-01-Ml G%%§HST§W
TOMM¥ FULLER
Marty McAfeel CJA
Defense Attorney
246 Adams Avenue

Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 4, 2005.
Accordinglyl the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MM Offense Number(s)
. wm
18 U.S.C. § 922(g) Fe|on in Possession of a Firearm 10/30/2002 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Count 2 is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all flnes, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 05/19/1970 Ju|y 6, 2005
Deft's U.S. Marshal No.: 19624-076

befendant's Mai|ing Address:
1043 Merryweather

sam

JON PH|PPS MCCALLA
UNITE STATES D|STR|CT JUDGE

July , 2005

a .
This document entered on the docket shea in complianc n 0
with Rule 55 and/or 32(b) FFiCrP on 2 ng,f§

 

Case 2:04-cr-20191-.]Pl\/| Document 60 Filed 07/07/05 Page 2 of 5 PagelD 87

Case No: 2:04CR20191-01-Ml Defendant Name: Tommy FULLER Page 2 of 4
|MPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 96 Months (or 8 Years) to be served concurrently
with the defendant’s sentence in case 04-02014 out of Shelby County Crimina| Court,
Memphis, TN.

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
in a facility near Memphis, TN.

The defendant is remanded to the custody of the United States Marsha|.

RETU RN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES N|ARSHAL
By:

 

Deputy U.S. Nlarshal

Case 2:04-cr-20191-.]Pl\/| Document 60 Filed 07/07/05 Page 3 of 5 PagelD 88

Case No: 2:04CR20191-01-|Vll Defendant Name: Tommy FULLER Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ocher;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shai|
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten{10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ocher within 72 hours of being arrested or questioned by a

Case 2:04-cr-20191-.]Pl\/| Document 60 Filed 07/07/05 Page 4 of 5 PagelD 89

Case No: 2:04CR20191-01-M| Defendant Name: Tommy FULLER Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ofticer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment

ADD|T|ONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofiicer.

3. The defendant shall submit to mental health testing and mental health treatment programs

as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penaltiesin accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedu|e of Payments may besubject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Restitution
$100.00

The Special Assessment shall be due immediately.

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

UNITED sTATE DISTRIC COUR - W"'RNTE D'SR'CTT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20191 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Marty B. McAfee
MCAFEE & MCAFEE
246 Adams Ave.
Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

